Case 1:20-cv-03746-AS Document 155-3 Filed 09/08/20 Page 1 of 4




                       EXHIBIT C
Case 1:20-cv-03746-AS Document 155-3 Filed 09/08/20 Page 2 of 4

                    CONFIDENTIAL




                                                         EBR 19
                       EXHIBIT C
Case 1:20-cv-03746-AS Document 155-3 Filed 09/08/20 Page 3 of 4

                   CONFIDENTIAL




                       EXHIBIT C                          EBR 20
Case 1:20-cv-03746-AS Document 155-3 Filed 09/08/20 Page 4 of 4

                   CONFIDENTIAL




                       EXHIBIT C                          EBR 21
